      Case 1:20-cv-00382-CCC-KM Document 82 Filed 03/31/21 Page 1 of 6




                                     March 31, 2021

VIA ECF
The Honorable Karoline Mehalchick
United States Magistrate Judge
Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

      Re:    In re Rutter’s Inc. Data Security Breach Litigation,
             Civil Action No. 1:20-cv-00382-JEJ-KM

Dear Chief Magistrate Judge Mehalchick:

        We write in response to Your Honor’s March 11, 2021 Order requesting that the
parties provide a joint summary of any remaining disputes over the scope of pre-class
certification discovery. ECF No. 80. Each party’s respective position is outlined below:

      Plaintiffs’ Position

        Plaintiffs served their First Set of Requests for the Production of Documents
(“Requests”) on May 29, 2020. In response, Rutter’s informed Plaintiffs that it would be
producing a single document—a copy of an April 24, 2020 investigatory report regarding
the breach (the “PFI Report”)—but otherwise withholding its responses and objections to
Plaintiffs’ Requests until it could address certain preliminary objections it had to the
scope of discovery. Specifically, Rutter’s’ July 17, 2020 letter to Your Honor objected to
four requests for production—Request Nos. 1, 2, 3, and 21. Rutter’s argued that it should
be allowed to withhold documents responsive to those requests because the requests
went beyond the scope of what was required for Plaintiffs to move for class certification.
Plaintiffs opposed Rutter’s’ covert attempt to unnecessarily bifurcate discovery between
class and merits phases, arguing that these documents were in fact necessary to class
certification because they related to issues, like whether evidence showing that Rutter’s
rolled-out different security measures depending on the store’s geographical location, or
that it treated credit and debit cards differently, predominated among class members.
      Case 1:20-cv-00382-CCC-KM Document 82 Filed 03/31/21 Page 2 of 6

March 31, 2021
Page 2


        The Court resolved this dispute concerning the scope of pre-certification discovery
on October 22, 2020, granting-in-part and denying-in-part Rutter’s’ request. ECF No. 66.
In this Order, the Court explicitly held that Rutter’s was required to produce documents
responsive to Request No. 1, including written policies, practices, procedures, manuals,
response plans, or protocols, “inasmuch as it differed over time or location.” As to
Request Nos. 2 and 3, the Court only excluded “information not related to the breach at
issue.” ECF No. 66 at 11.

       Rutter’s finally sent its Objections and Responses to Plaintiffs’ Requests on
December 23, 2020 (“Responses”). Pursuant to Fed. R. Civ. P. 34(b)(2)(B), Rutter’s had an
obligation to complete its production of documents “no later than the time for inspection
in the request or another reasonable time specific in the response.” Rutter’s did neither:
208 days after receiving Rutter’s’ Responses, Plaintiffs still had only one document—the
PFI Report produced on July 1, 2020.

        The parties first met-and-conferred about Rutter’s’ Responses on January 12, 2021,
during which Plaintiffs highlighted several deficiencies, including Rutter’s’ failure to
state with specificity a basis for objections, or whether any documents were being
withheld. Plaintiffs were also alarmed to learn from the Responses that Rutter’s, despite
having had the benefit of the Court’s ruling for three months, had not yet started to search
for electronically stored information (“ESI”).

       Rutter’s made a supplemental production on February 5, 2021 that was extremely
limited—only thirty-four (34) documents. Plaintiffs raised this issue during a meet-and-
confer on February 16, 2021, expressing concern regarding Rutter’s’ outstanding
production in light of the impending Fed. R. Civ. P. 30(b)(6) deposition that Plaintiffs had
noticed seven months earlier, scheduled for February 24, 2021. Rutter’s made an
additional production of just five (5) documents on February 23, 2021, the day before the
Fed. R. Civ. P. 30(b)(6) deposition. This production was also far from complete. Plaintiffs
promptly sent Rutter’s a detailed deficiency letter on March 8, 2021, after Rutter’s’
corporate representative, who also served as Vice President of Technology, testified
about multiple documents directly related to the Data Breach that were never produced
to Plaintiffs. Given these glaring holes in Rutter’s’ production, Plaintiffs stressed in this
the need for a meet-and-confer on the document custodians whose files Rutter’s had
searched, and the specific search terms used to locate the ESI it had already produced.

       The Parties met-and-conferred on March 10, 2021, and agreed, in light of Plaintiffs’
deficiency letter, that it would be more efficient to postpone the March 11, 2021
teleconference scheduled by this Court to give Rutter’s an opportunity to respond to
Plaintiffs’ March 8, 2021 letter and supplement or amend its Responses before wasting
judicial resources. Counsel for Plaintiffs reached out to Rutter’s on March 18, 2021 to
       Case 1:20-cv-00382-CCC-KM Document 82 Filed 03/31/21 Page 3 of 6

March 31, 2021
Page 3


inquire as to the status of Rutter’s’ response to Plaintiffs’ deficiency letter, as well as its
amended Responses to Plaintiffs’ Requests. Counsel for Rutter’s responded that it would
provide a response to the deficiency letter as well as amended responses to the discovery
requests by the “end of next week” (i.e., March 26, 2021). When no response arrived,
Plaintiffs’ counsel again contacted Rutter’s by way of email on March 29, 2021 to again
inquire about the status of Rutter’s’ response to Plaintiffs’ March 8, 2021 deficiency letter
and Rutter’s’ amended discovery Responses. Hearing nothing, Plaintiffs’ counsel again
emailed Rutter’s’ counsel on March 30, 2021 requesting a meet-and-confer to discuss
these outstanding items. Late yesterday afternoon, counsel for Rutter’s advised that they
were available to discuss on March 31, 2021, and that they were “still finalizing the
responses with our client. It may be the case that the amended responses resolve many
of the items raised in the deficiency letter. We are also preparing responses to the
interrogatories and are seeking a two-week extension of time to respond.”

       The parties met-and-conferred on March 31, 2021. During this call, Rutter’s was
unable to provide a definitive date by which it intends to serve the supplemental
Responses it promised in January but stated that it anticipates providing amended
Responses by “early next week.” Rutter’s also represented that it would provide a
proposed list of custodians and search terms contemporaneously with their amended
Responses to facilitate the parties’ discussions concerning ESI. While the parties agree
that they will negotiate the scope of production of ESI relating to the Data Breach itself,
the parties remain at an impasse concerning the scope of pre-certification discovery that
Plaintiffs are entitled to. Despite the Court’s October 22, 2020 Order, Rutter’s still
maintains—with no basis—that it is not required to conduct searches for or otherwise
produce any information relating to its data security practices prior to the Data Breach.
See Order, ECF No. 66 at 11 (“the Court orders that Request No. 1 be narrowed to
information inasmuch as it differed over time or location; that Request Nos. 2 and 3 not
apply to information not related to the breach at issue”).

       This has caused discovery to stall. To date, Rutter’s has only produced forty (40)
documents in response to twenty-three (23) Requests. Although Rutter’s proposed
several dates on which Plaintiffs can expect a supplemental production of documents,
each time it has moved the deadline, failing to produce any additional documents.
Further, Rutter’s has still failed to correct the deficiencies in its Responses that Plaintiffs
identified months ago and specify—as required by the Federal Rules—whether it is
withholding documents on the basis of any its objections. This is troubling. Plaintiffs have
noticed depositions of two additional Rutter’s witnesses on April 13th and 27th in an
attempt to advance this litigation. However, given the pace at which Rutter’s has been
responding to discovery and the outstanding discovery issues, these (as well as the
remainder of the schedule leading up to the filing of Plaintiffs’ class certification motion)
depositions will most likely need to be rescheduled for a later date. Plaintiffs respectfully
      Case 1:20-cv-00382-CCC-KM Document 82 Filed 03/31/21 Page 4 of 6

March 31, 2021
Page 4


suggest that the Court set a deadline in the near term by which Rutter’s shall substantially
complete its document production and serve complete responses to Plaintiffs’ discovery
requests.

       Defendant’s Position

      Defendant generally agrees with the procedural history recounted by Plaintiffs but
oppose an arbitrarily set deadline by which it should be required to “substantially
complete” because that standard is subject to subjective interpretation and is not
completely within Defendant’s control. Defendant has already provided substantive
responses to Plaintiffs’ written discovery requests and aside from a few items specifically
requested by Plaintiffs following the Rule 30(b)(6) deposition of Rutter’s, that document
production has been substantially completed aside from any ESI searches.

       Following the February meeting of the parties, Defendant also agreed to provide
supplemental objections and written responses to Plaintiffs’ written discovery requests,
and we expect to provide those supplemental responses later this week. However, the
main purpose of the supplemental response is to clarify what has been searched for and
produced and what Defendant has not yet searched for due to one or more of its
objections. The responsive information for which Defendant has not yet searched falls
into two categories (1) ESI relating to historical data security issues, which Defendant
believes falls outside the scope of pre-certification discovery as limited by this Court’s
prior discovery order; and (2) ESI relating to the security incident itself and its aftermath,
which Defendant agrees falls within the scope of pre-certification discovery, but which
will require further discussion among the parties to develop a search protocol. Until the
parties either reach agreement on a search protocol or present any dispute about a search
protocol to the Court, it is impossible to estimate the amount of time it will take to search
for and produce additional responsive documents.

       Defendant has cooperated in the scheduling of all depositions noticed by Plaintiffs
to date. Defendant will not object to any reasonable extension of time of the deadline for
Plaintiffs to file their class certification motion that may be necessitated by any unforeseen
delays in discovery, but at this time, there is still reason to believe discovery may be
completed by the current deadline.

                                    *      *      *
       As such, the parties respectfully request a teleconference with Your Honor to
resolve the outstanding discovery dispute with regard to the scope of ESI related to
historical data security issues and to clarify the parameters of Your Honor’s prior
discovery Order dated October 22, 2020.
      Case 1:20-cv-00382-CCC-KM Document 82 Filed 03/31/21 Page 5 of 6

March 31, 2021
Page 5


                                   Respectfully,

                                   Benjamin F. Johns
                                   Benjamin F. Johns
                                   Samantha E. Holbrook
                                   Alex M. Kashurba
                                   CHIMICLES SCHWARTZ KRINER
                                   & DONALDSON-SMITH LLP
                                   One Haverford Centre
                                   361 Lancaster Avenue
                                   Haverford, PA 19041
                                   Tel: (610) 642-8500

                                   Christian Levis
                                   Amanda Fiorilla
                                   LOWEY DANNENBERG, P.C.
                                   44 South Broadway, Suite 1100
                                   White Plains, NY 10601
                                   Tel: (914) 997-0500

                                   Anthony M. Christina
                                   LOWEY DANNENBERG, P.C.
                                   One Tower Bridge
                                   100 Front Street, Suite 520
                                   West Conshohocken, PA 19428
                                   Tel: (215) 399-4770

                                   Attorneys for Plaintiffs


                                   Paul G. Karlsgodt
                                   Paul G. Karlsgodt
                                   BAKER & HOSTETLER LLP
                                   1801 California Street
                                   Suite 4400
                                   Denver, CO 80202
                                   Tel: (303) 764-4013

                                   Meghan Rohling Kelly
                                   Tyson Y. Herrold
                                   BAKER & HOSTETLER LLP
                                   2929 Arch Street
      Case 1:20-cv-00382-CCC-KM Document 82 Filed 03/31/21 Page 6 of 6

March 31, 2021
Page 6


                                   Cira Centre - 12th Floor
                                   Philadelphia, PA 19104
                                   Tel: (215) 564-8390

                                   Carrie Dettmer Slye
                                   BAKER & HOSTETLER LLP
                                   312 Walnut Street
                                   Suite 3200
                                   Cincinnati, Ohio 45202-4074
                                   Tel: (513) 929-3400

                                   Attorneys for Defendant
